         Case 1:18-cr-00203-BLW Document 61 Filed 11/21/19 Page 1 of 2




L. Craig Atkinson, ISB 8125
craig@craigatkinsonlaw.com
ATKINSON LAW OFFICE, PLLC
1087 W. River St., Suite 290
Boise, Idaho 83702
(208) 571-0627 (office)
(208) 898-8881 (facsimile)


                              UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF IDAHO


 UNITED STATES OF AMERICA,
                                                     Case No. 1:18-CR-203-BLW
                Plaintiff-Appellee,

        v.                                           MOTION TO WITHDRAW AND
                                                     DEFENDANT-APPELLANT’S MOTION
 LONNIE PARLOR,                                      FOR SUBSTITUTE COUNSEL

                Defendant-Appellant.




       Counsel for Defendant-Appellant, Lonnie Parlor, hereby moves this Court to permit his

withdrawal and to appoint substitute counsel under the Criminal Justice Act to represent Mr. Parlor

in his appeal. This motion is based on the previously filed form CJA 23.

                                                 Dated: November 21, 2019




                                                 __/s/________________________________
                                                 L. Craig Atkinson
                                                 Atkinson Law Office
                                                 Attorney for Defendant




MOTION TO WITHDRAW AND DEFENDANT-APPELLANT’S MOTION FOR
SUBSTITUTE COUNSEL – Page 1
         Case 1:18-cr-00203-BLW Document 61 Filed 11/21/19 Page 2 of 2




                               CERTIFICATE OF SERVICE

      I HEREBY CERTIFY That on the 21st day of November, 2019, I electronically filed the
foregoing document with the Clerk of the Court using the CM/ECF system, which sent a Notice
of Electronic Filing to the following persons:

Kate Horwitz, Assistant US Attorney
Office of the United States Attorney
Washington Group Plaza, IV
800 Park Blvd., Suite 600
Boise, Idaho 83712
KHorwitz@usa.dog.gov




                                        /s/

                                        L. Craig Atkinson




MOTION TO WITHDRAW AND DEFENDANT-APPELLANT’S MOTION FOR
SUBSTITUTE COUNSEL – Page 2
